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           12                                                    [ADDITIONAL COUNSEL LISTED ON
                                                                 SIGNATURE PAGE]
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           15                                    UNITED STATES DISTRICT COURT

           16                                 NORTHERN DISTRICT OF CALIFORNIA

           17                                            OAKLAND DIVISION

           18    LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254-YGR
                 themselves and all others similarly situated,
           19                                                     JOINT STIPULATION AND [PROPOSED]
                                        Plaintiffs,               ORDER TO PERMIT CERTAIN
           20                                                     DEPOSITIONS FOLLOWING CLOSE OF
                        v.                                        DISCOVERY
           21
                 UNITED BEHAVIORAL HEALTH, a                      Hon. Yvonne Gonzalez Rogers
           22    California Corporation,
                 UNITEDHEALTHCARE INSURANCE
           23    COMPANY, a Connecticut Corporation, and         Complaint filed: April 2, 2020
                 MULTIPLAN, INC., a New York corporation,        Third Amended Complaint filed: Sept. 10, 2021
           24
                                        Defendants.
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            1           Under Civil Local Rule 6-2 and 7-12, all parties in this case hereby stipulate and agree to permit
            2    the depositions of certain witnesses following the close of discovery until July 29, 2022, without
            3    modification of any other dates in the current schedule, subject to this Court’s approval. The parties
            4    have met and conferred and agreed on the following proposal. For the reasons set out below, the parties
            5    respectfully submit that extraordinary and compelling reasons warrant this slight modification to the
            6    existing schedule (Dkt. 130).
            7           In further support of this Stipulation, the Parties state as follows:
            8           WHEREAS, the Court entered its Order on April 21, 2022 (Dkt. 130) extending the non-expert
            9    discovery cutoff to July 15, 2022 and otherwise extending case deadlines relating to briefing on class
           10    certification, and providing that “[n]o further extensions will be granted absent extraordinary and
           11    compelling reasons,” (Dkt. 130 at 6);
           12           WHEREAS, the parties are on track to substantially complete fact discovery by the existing
           13    deadline, including many thousands of documents and data already produced, including, most recently,
           14    United’s June 23, 2022 production of 8,452 pages of documents and privilege log containing 1,278
           15    entries, and fourteen depositions to be taken (six depositions already taken and eight more scheduled
           16    prior to the existing deadline);
           17           WHEREAS, the parties have also conducted substantial third-party discovery, including
           18    document subpoenas to several dozen third parties;
           19           WHEREAS, the parties also have one discovery dispute on file with the Court that has not yet
           20    been decided (Dkt. 120);
           21           WHEREAS, notwithstanding the efforts described above, due to scheduling constraints, the
           22    parties anticipate needing to complete the depositions of a limited number of additional witnesses
           23    during the second half of July, with the permission of the Court, including (1) UHC witness Radames
           24    Lopez; (2) the Rule 30(b)(6) designees for a limited number of treatment centers; (3) third party Creyna
           25    Franco; (4) one Rule 30(b)(6) designee for MultiPlan; and (5) a limited number of third-party plan
           26    sponsors;
           27           WHEREAS, the Court has granted two previous extensions to the deadline that is the subject
           28    of this stipulation (Dkt. 115; Dkt. 130);
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            1           WHEREAS, granting leave to take these depositions after the close of non-expert discovery
            2    will not alter any other dates in the schedule this Court set by its Order of April 21, 2022 (Dkt. 130);
            3           WHEREAS, nothing in this Joint Stipulation alters any other rights, and the parties expressly
            4    reserve the right to seek further relief from the Court as necessary;
            5           NOW, THEREFORE, subject to the approval of the Court, and for good cause shown, the
            6    parties hereby stipulate and agree to permit the parties to take the following depositions after the close
            7    of discovery and before July 29, 2022:
            8                  UHC witness Radames Lopez;
            9
                               the Rule 30(b)(6) designees for a limited number of treatment centers;
           10
                               third party Creyna Franco;
           11

           12                  one Rule 30(b)(6) designee for MultiPlan; and

           13                  a limited number of third-party plan sponsors.

           14
                        A proposed order is submitted concurrently.
           15

           16           IT IS SO STIPULATED.

           17    DATED: June 28, 2022
                                                               GIBSON, DUNN & CRUTCHER LLP
           18

           19
                                                               By: /s/ Geoffrey Sigler
           20                                                                      Geoffrey Sigler
           21                                                  Attorneys for Defendants UNITED BEHAVIORAL
                                                               HEALTH and UNITED HEALTHCARE INSURANCE
           22                                                  COMPANY
           23
                 DATED: June 28, 2022                          PHELPS DUNBAR LLP
           24

           25
                                                               By: /s/ Errol King
           26                                                                            Errol King
           27                                                  Attorneys for Defendant MULTIPLAN, INC.
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                                                                    3
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                 Dated: June 28, 2022                ARNALL GOLDEN GREGORY LLP
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           12
                                                     By: /s/ Matthew M. Lavin
           13                                                         Matthew M. Lavin
           14

           15    Dated: June 28, 2022                DL LAW GROUP
           16

           17                                        By: /s/ David Lilienstein
                                                                        David Lilienstein
           18

           19
                                                     Attorneys for PLAINTIFFS
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            1                                          [PROPOSED] ORDER
            2           Having considered the parties’ Joint Stipulation and [Proposed] Order to Permit Certain

            3    Depositions Following Close of Discovery, the Court HEREBY ORDERS as follows:

            4           The parties may take additional depositions after the close of discovery until July 29, 2022.

            5

            6           PURSUANT TO STIPULATION, IT IS SO ORDERED.
            7

            8
                  Dated: July 8, 2022                _________________________________________________
            9                                                  The Hon. Yvonne Gonzalez Rogers
           10                                                 UNITED STATES DISTRICT JUDGE

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Crutcher LLP
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